             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION
             CIVIL CASE NO. 3:20-cv-00340-MR-WCM


CHRISTOPHER PERKINS,             )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                 ORDER
                                 )
                                 )
KILOLO KIJAKAZI, Acting          )
Commissioner of Social Security, )
                                 )
                   Defendant.    )
_______________________________ )


     THIS MATTER is before the Court on the Plaintiff’s Motion for

Summary Judgment [Doc. 12]; the Defendant’s Motion for Summary

Judgment [Doc. 15]; and the Magistrate Judge’s Memorandum and

Recommendation [Doc. 17] regarding the disposition of those motions.

     Pursuant to 28 U.S.C. § 636(b) and a specific Order of referral of the

District Court, the Honorable W. Carleton Metcalf, United States Magistrate

Judge, was designated to consider the pending motions in the above-

captioned action and to submit to this Court a recommendation for the

disposition of these motions.




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     On October 15, 2021, the Magistrate Judge filed a Memorandum and

Recommendation [Doc. 17] in this case containing proposed findings of fact

and conclusions of law in support of a recommendation regarding the

motions [Docs. 12, 15]. The parties were advised that any objections to the

Magistrate Judge's Memorandum and Recommendation were to be filed in

writing within fourteen (14) days of service. The period within which to file

objections has expired, and no written objections to the Memorandum and

Recommendation have been filed.

     After a careful review of the Magistrate Judge's Memorandum and

Recommendation [Doc. 17], the Court finds that the proposed findings of fact

are correct and that the proposed conclusions of law are consistent with

current case law. Accordingly, the Court hereby accepts the Magistrate

Judge's recommendation that the Plaintiff’s motion for summary judgment

should be granted.

     IT IS, THEREFORE, ORDERED that the Memorandum and

Recommendation [Doc. 17] is ACCEPTED; the Plaintiff’s Motion for

Summary Judgment [Doc. 12] is GRANTED; and the Defendant’s Motion for

Summary Judgment [Doc. 15] is DENIED.

     IT IS FURTHER ORDERED that, pursuant to the power of this Court

to enter a judgment affirming, modifying or reversing the decision of the
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Commissioner under Sentence Four of 42 U.S.C. § 405(g), the decision of

the Commissioner is REVERSED, and this case is hereby REMANDED to

the Commissioner for further administrative action consistent with this Order.

      A judgment shall be entered simultaneously herewith.

      IT IS SO ORDERED.
                              Signed: November 2, 2021




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